           Case 1:15-cr-00095-AJN Document 3061
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA
                                                                               WAIVER OF RIGHT TO BE
                             -v-                                               PRESENT AT CRIMINAL
                                                                               PROCEEDING
                    DANTE STEPHENS,
                                       Defendant.                                15-CR-95-51 (AJN)
-----------------------------------------------------------------X

Check Proceedings that Apply

____
 X       Sentencing

         I understand that I have a right to appear before a judge in a courtroom in the Southern
         District of New York at the time of my sentence and to speak directly in that courtroom to the
         judge who will sentence me. I am also aware that the public health emergency created by
         the COVID-19 pandemic has interfered with travel and restricted access to the federal
         courthouse. I do not wish to wait until the end of this emergency to be sentenced. I have
         discussed these issues with my attorney and willingly give up my right to be present, at the
         time my sentence is imposed, in the courtroom with my attorney and the judge who will
         impose that sentence. By signing this document, I wish to advise the court that I willingly give
         up my right to appear in a courtroom in the Southern District of New York for my sentencing
         proceeding as well as my right to have my attorney next to me at the time of sentencing on
         the following conditions. I want my attorney to be able to participate in the proceeding and
         to be able to speak on my behalf at the proceeding. I also want the ability to speak privately
         with my attorney at any time during the proceeding if I wish to do so.


                   Dante Stephens                                    /s/ Bina M. Peltz
Date:              _________________________                         ____________________________
                   Print Name                                                 Signature of Defendant


         I hereby affirm that I am aware of my obligation to discuss with my client the specifications
         of violation of supervised release, my client’s rights to attend and participate in the criminal
         proceedings encompassed by this waiver, and this waiver form. I affirm that my client
         knowingly and voluntarily consents to the proceedings being held with my client and me both
         participating remotely.


Date:              Bina M. Peltz
                   __________________________                              /s/ Bina M. Peltz
                                                                           _____________________________
                   Print Name                                              Signature of Defense Counsel
